                  IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          CHARLOTTE DIVISION
                           3:16-cr-00074-MOC-DSC

UNITED STATES OF AMERICA,                            )
                                                     )
                                                     )
v.                                                   )
                                                     )
JERITON LAVAR CURRY                                  )
                                                     )         ORDER
                                                     )
                 Defendant.                          )
_______________________________                      )

       THIS MATTER is before the court on defendant’s Status Report (#240). Having

reviewed the Motion and considered the pleadings, the court enters the following Order.

       Defendant has pled guilty pursuant to a plea agreement. A Rule 11 hearing was held

before Magistrate Judge Cayer on August 4, 2016. Defendant contends that his plea was

not entered knowingly or voluntarily, particularly that his medication (sertraline HCI)

interfered with his ability to enter a plea.

       For good cause shown, defendant’s counsel has ninety (90) days in which to inquire

into the defendant’s mental status on the day of his Rule 11 colloquy via the services of a

psychiatric expert. The ultimate legal conclusion of his competency to enter such a plea

and whether he did so knowingly and voluntarily is for the court to decide.

       Defendant has requested a continuance of ninety (90) days to allow for this expert

evaluation. (#240) at 2. Within the 90 day period of continuance, the defendant shall inform


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     Case 3:16-cr-00074-MOC-SCR          Document 241     Filed 05/08/17      Page 1 of 2
the court when the report from the medical evaluation is completed. At least fourteen (14)

days prior to the hearing, the defendant shall make available to the government the report

of the psychiatric expert. The government may cross-examine this psychiatric expert at the

hearing and may also seek to have defendant examined under Title 18. As defendant

mentions in his pleading, if the Court is satisfied defendant’s plea was knowing and

voluntary, this hearing may be converted to a sentencing hearing (#240) at 2.

                                          ORDER

       IT IS THEREFORE ORDERED that this matter is continued for a period of

ninety (90) days from the issuance of this Order to allow time for a psychiatric evaluation

of the defendant. That evaluation shall be bounded in scope to assess the defendant’s

mental status at the time of the Rule 11 hearing. The time of the continuance may be shorter

than 90 days if the evaluation and resulting report is completed sooner than expected.

       The defendant is instructed to inform the court by filing a Notice upon the

completion of the expert evaluation and provide the attendant report to the government

within fourteen (14) days of a status hearing on this matter.

                                         Signed: May 8, 2017




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   Case 3:16-cr-00074-MOC-SCR          Document 241            Filed 05/08/17   Page 2 of 2
